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                        EXHIBIT A
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                      The Law Office of Alan H. Schoem LLC


At the request of counsel for MJC America, Ltd. and MJC Supply, Inc. (hereinafter “MJC”), I am
retained as an expert in the matter of MJC America Limited et al. vs. Gree Electric Appliances,
Inc. of Zhuhai et al., U.S. Dist. Ct. (C.D. CA) Case No. 2:13-cv-04264-SJO-(CWx). I am retained
for the purpose of rebutting the letter report of Gree Electric Appliances, Inc. of Zhuhai and Gree
Hong Kong (hereinafter “Gree”)’s expert Richard L. Stern, Exponent, Inc. I submit this report in
support of my opinions in connection with the above referenced case.

The opinions included in this report are based upon my review of the Plaintiffs’ Verified Second
Amended Complaint and Defendants’ Answers and Counterclaims in this matter, and the
documents identified in Attachment 1, from my expertise in the area of product safety and product
recalls including my expertise gained from serving at the CPSC from 1973-2004, and from my
practicing before the Commission from 2004 to the present. To the extent that additional
documentation or information becomes available, my analysis may result in different opinions and
conclusions.

Since 1973, I have spent my professional career in the area of product safety, first, as a government
regulator, and later as a consultant at Marsh USA where I assisted firms in complying with federal
agency regulatory requirements and industry voluntary standards, establishing procedures for
minimizing the need for product recalls, preparing for and deploying product recalls, and
recovering from product recalls. I started my own law firm in January 2012, through which I
advise companies on a variety of product safety-related issues involving the CPSC, including
complying with regulatory requirements enforced by the CPSC. Occasionally I serve as an expert
in litigation.

The following sections set forth my qualifications as an expert, expert testimony experience, my
opinions, and the bases for my opinions.

  I.    QUALIFICATIONS AND EXPERT TESTIMONY EXPERIENCE

       In January 2012, I started my own practice, The Law Office of Alan H. Schoem LLC, in
        which, among other things, I assist clients with product safety-related issues primarily
        involving the CPSC, including regulatory compliance, establishing product recall
        processes and procedures, and assisting in conducting product recalls. As part of my
        practice in the area of regulatory compliance, I advise firms on interpretations of CPSC
        statutes and regulations, including jurisdictional issues.

       From September 2004 through December 2011, I was an expert consultant in the Global
        Product Risk Practice within Marsh Risk Consulting, part of Marsh & McLennan
        Companies. I provided expert professional consulting services for clients who encountered
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        a product risk issue including the need for a product recall. My clients’ included firms
        requesting guidance in dealing with consumer product, food, medical device and
        automotive equipment issues. I worked with companies on regulatory compliance,
        minimizing the potential for product recalls, preparing for recalls, conducting product
        recalls and recovering from product recalls.

       I served as the Director of the Office of Compliance at the CPSC from 1997 to 2004. In
        this capacity, I was responsible for the enforcement program of the CPSC including
        conducting investigations of potentially defective products, pursuing product recalls,
        conducting administrative litigation, advising firms on complying with CPSC rules and
        regulations, evaluating whether firms had an obligation to report to CPSC under its statutes,
        and pursuing civil penalties against firms that violated CPSC rules and regulations. As
        Director, I was involved in assessing the risk of injury associated with consumer products
        and in assessing corrective actions to address the risk.

       Prior to serving as Director of Compliance at the CPSC, I held various roles at the CPSC
        from 1973 to 1997, including in reverse chronological order, Executive Assistant in the
        Office of Compliance, Director of the Office of Administrative Litigation in the Office of
        Compliance, Assistant General Counsel and staff attorney in the CPSC’s Office of the
        General Counsel. In these capacities, I was responsible at various times for, among other
        things, participating in assessment of product risk, CPSC’s administrative litigation,
        pursuing civil penalties against firms who violated mandatory safety standards and banning
        regulations including violations of the Consumer Product Safety Act reporting
        requirements, information disclosure, pursuing federal court litigation through the
        Department of Justice, providing legal advice and guidance on CPSC rulemaking activities,
        interpreting CPSC regulations and statutes, providing jurisdictional opinions in the form
        of Office of the General Counsel Advisory Opinions, and providing legal advice and
        guidance to the CPSC Commissioners and staff.

       During my tenure at the CPSC, I also served as a Legal Assistant to Chairman Ann Brown
        from March 1994 until October 1996, providing legal and policy advice and guidance. In
        addition, I also participated in a LEGIS Fellows program from 1992-1993 working for
        Senator Paul Wellstone (D. MN), participating in legislative activities of the Senator
        including developing position papers and statements.

       I graduated from American University, Washington College of Law in 1972 with a Juris
        Doctor degree. I received my undergraduate B.A. degree from the University of Maryland
        College Park in 1968. I am admitted to the Bars of Maryland and the District of Columbia.

       A copy of my CV is provided as Attachment 2.

 II.    EXPERT TESTIMONY EXPERIENCE


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A list of my expert witness deposition and trial testimony is included as Attachment 3.

III.   SUMMARY OPINION

              The CPSC is a U.S. Federal regulatory agency responsible for protecting
               consumers form unreasonable risks of injury associated with consumer products.
              Manufacturers who obtain information reasonably supporting the conclusion that
               a product (1) has a defect which could create a substantial product hazard or (2)
               creates an unreasonable risk of serious injury or death are required to report that
               information immediately to CPSC.
              As early as mid-July 2012, MJC provided Gree information about certain of its
               dehumidifiers spontaneously igniting.
              MJC provided Gree test data documenting that its dehumidifiers did not meet UL
               requirements for flame retardancy and corresponded with and met with Gree
               representatives in September 2012 to urge them to report to CPSC.
              The CPSC reporting requirement is not dependent upon a firm establishing the
               root cause of a safety problem.
              Gree’s hiring Exponent to evaluate its dehumidifiers was not a reason to delay
               reporting to CPSC.
              Gree should have reported to CPSC significantly earlier than it did and the delay
               in reporting appears to have been motivated by its financial concerns.

IV.     The Consumer Product Safety Commission

The U.S. Consumer Product Safety Commission (CPSC) is an independent federal regulatory
agency created by Congress in 1972 through enactment of the Consumer Product Safety Act
(CPSA), 15 U.S.C. §§ 2051-2089. The Commission began operating in May 1973. The CPSC is
responsible for, among other things, protecting the public from unreasonable risks of injury
associated with consumer products. 15 U.S.C. § 2051(b)(1). The CPSC administers a number of
statutes with the relevant statutes for purposes of this proceeding being the CPSA and the
Consumer Product Safety Improvement Act of 2008 (Public Law 110-314, 122 Stat. 3016)
(hereinafter “CPSIA”).

To carry out its responsibilities, the CPSC has broad regulatory authority including the authority
to issue mandatory safety standards, to ban products where no standard is feasible and to compel
the recall of consumer products if it can prove in an administrative adjudicatory proceeding that
a product is defective and creates a substantial risk of injury to the public. 15 U.S.C. §§ 2056,
2057, 2058, 2064. Nearly all CPSC announced recalls are “voluntary” in that firms agree in
cooperation with CPSC to conduct a recall without the necessity of litigation.



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The CPSC learns about potential safety problems with products through a variety of sources
including consumer complaints, trade complaints, media reports and a system of statistically
located hospitals that report on emergency room treated injuries associated with consumer
products (National Electronic Injury Surveillance System or NEISS). CPSC places “reports of
harm” (complaints) that meet certain criteria in a public database at www.saferproducts.gov.

In addition, manufacturers who, among other things, obtain information reasonably supporting
the conclusion that a product (1) has a defect which could create a substantial product hazard or
(2) creates an unreasonable risk of serious injury or death are required to report that information
immediately to CPSC. 15 U.S.C. § 2064(b). In determining whether a product could create a
substantial product hazard, the CPSC considers, among other things, the pattern of defect, the
number of defective products distributed in commerce, the severity of the risk, the likelihood of
injury and the vulnerability of the population at risk. 15 U.S.C. § 2064(a); 16 CFR § 1115.12.

 V.    Manufacturer’s Responsibility

It is a basic tenet of product safety that safety must be designed and built into a product. Prudent
manufacturers should use designs that eliminate or minimize potential product hazards. If all
potential hazards cannot be eliminated by design, manufacturers should consider possible guards
against remaining potential hazards. Finally, manufacturers also should provide warnings
regarding any remaining hazard. Manufacturers, therefore, should design safety into a product,
consider guards against potential hazards that cannot be addressed by product design alone, and
provide warnings for remaining potential hazards.

In designing a product, a manufacturer should conduct a foreseeable use analysis that “considers
the potential ways that a consumer will interact with and/or operate a product. It is a critical step
in designing a safe consumer product. Foreseeable use includes the use as intended by the
manufacturer, and also use in ways that were not intended but can reasonably be expected to
occur.” In other words, a product must be designed in a way that takes into account reasonably
foreseeable use and misuse of the product. Handbook for Manufacturing Safer Consumer
Products, U.S. Consumer Product Safety Commission (July 2006) (hereinafter “CPSC
Handbook”), at 9.

With respect to product design, the CPSC Handbook provides that:
       Changes in design, production and distribution must be subject to control, be made
       matters of record, and be incorporated into all documentation affecting the product.
       Supporting technical documentation (e.g., drawings, replacement parts data, production,
       inspection, testing and repair instructions, and operating handbooks) must be current with
       design. Obsolete documents and data are to be removed from all places where they might
       be used inadvertently.


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CPSC Handbook at 10.

VI.    Analysis

Mr. Stern in his letter report dated February 5, 2015, discusses Gree’s decision to retain a third
party expert, Exponent, to assist in replicating its dehumidifier failures, Gree’s decision to
conduct a recall of its dehumidifiers in cooperation with the CPSC, Gree’s decision to retain a 3rd
party logistics center to assist in implementing the dehumidifier recall, and Gree’s decision to
use Exponent to conduct a review of Gree’s safety compliance management program.

Gree’s decision to hire Exponent to replicate its dehumidifier failures and evaluate its safety
compliance programs and Stericycle to serve as a recall logistics provider appears to have
occurred significantly later in time than was reasonable; and did not affect Gree’s responsibility
to report its dehumidifier fires to CPSC immediately. Indeed, Mr. Stern’s analysis starts in the
middle of the chronicle of Gree’s dehumidifier issues rather than at the beginning. Mr. Stern’s
accounting starts approximately 10 months after MJC first reported to Gree safety problems with
Gree’s dehumidifiers. Mr. Stern also erroneously concludes that “prior to 2013, Gree reportedly
had not identified any product safety issues associated with their product line that would have
presented a substantial product hazard. Stern Letter Report, Exhibit B at Page 2. It would
appear that Gree may not have shared with Mr. Stern information about its dehumidifier fires
that MJC provided to Gree in late July 2012.

Beginning in July 2012, MJC reported to Gree three incidents of spontaneous ignition involving
the Gree dehumidifier including a YouTube video of a Gree dehumidifier that had spontaneously
ignited. GREE-CPSC0000001, GREE-OGC0000214, GREE0006800; Huang Deposition, at 69,
71 (February 9, 2015). By mid-August 2012, Gree had received five reports of fires involving its
dehumidifiers. Exhibit 4 to Huang deposition (February 9, 2015).

In September 2012, MJC reported to Gree that based on a report from its insurance company and
related testing, the Gree dehumidifiers did not meet UL fire retardant requirements. Gree met
with MJC in the United States in September 2012. At the meeting, Gree admitted that it was
using noncompliant plastics in its dehumidifiers; and that it had a repair to address the risk of
fire. . Huang Deposition, Exhibit 11 to Huang Deposition. At that meeting, MJC urged Gree to
report to CPSC. Exhibits 11 and 19 to Huang Deposition; Gree 0011539-0011569; See also,
Gree’s Amended Responses to Counter Defendants Requests For Admission, Set One. While
Gree claimed that the design specifications for the dehumidifiers met UL requirements, there is
no indication that Gree actually tested or evaluated its dehumidifiers to determine whether they
were manufactured to the applicable fire retardant requirements or Gree’s design specifications.
Finally, Gree admitted that as of August or September, 2012, Gree was aware that certain
plastics used in the dehumidifiers were not in compliance with UL standards. Gree’s Amended
Responses to Counter Defendants Requests For Admission, Set One; Huang Deposition 143-144.



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Gree opined, at least in some cases, that fires were “manmade” assuming in part that the plastic
used in its dehumidifiers were flame retardant. GREE-CPSC0000026, GREE-OGC0000004,
GREE0006680. In fact, Gree finally admitted that its dehumidifiers failed to meet the UL
requirements for fire retardancy to which the dehumidifiers were certified. Huang Deposition, at
pages at 50-52 (February 9, 2015). Once Gree recognized that its dehumidifiers did not comply
with UL’s flame retardancy requirements, it was required to report to CPSC. Further, it is a
prohibited act for Gree to sell a dehumidifier bearing a UL mark where Gree knew or should
have known that the mark was not authorized. Because the dehumidifiers did not meet UL’s
flame retardancy requirements, Gree would not have been authorized to use the UL mark.

Exponent’s report dated July 19, 2013, noted a potential for fire with non-UL compliant rated
plastic. No doubt this is why Exponent’s Letter Report dated February 5, 2015, prepared by Mr.
Stern, recommends that Gree ”[c]onduct a detailed audit of the day-to-day actions of the
production…[department] to identify potential nonconformance with Gree’s internal quality,
compliance and safety requirements.”

In addition, Gree was aware by late 2012 of a November 12, 2012, report by Intertek identifying
“noncompliances” to the applicable standards.

Because of the fire incidents, in an email dated September 27 from Jimmy Loh and Charlie Loh,
MJC, to Chairman Dong Mingzhu, Gree, the Lohs’ urged Gree to report to CPSC as soon as
possible.

By mid-October 2012, MJC had informed Gree of a total of nine fire incidents involving the
Gree dehumidifiers and by the end of November 2012, MJC was advising Gree to report the fire
issues involving the Gree dehumidifier to CPSC. See, Plaintiff’s Exhibit J, Gree-OGC0000052-
55, and Exhibit 11 to Huang Deposition. In fact, Gree implemented design changes at its factory
in late 2012 for new production intended to reduce the risk of fire but did not offer the remedy
for consumers who already owned the product, and those dehumidifiers already in the stream of
commerce. Exhibit 15 to Huang deposition; Huang deposition at 129-132. Exhibit H to Gree
and MJC’s Joint Report to CPSC.

Because Gree claimed it was not able to replicate the fires reported by consumers using its
dehumidifier, in a letter to MJC dated January 25, 2013, Gree took the position that the
dehumidifiers need not be recalled, and that if a report to CPSC was necessary, Gree would
report to CPSC directly and assume to costs of any recall should one become necessary. Huang
Deposition at 79.

As it turns out, Gree in fact was well aware of the issues involving the problems with its Gree
dehumidifiers. In 2010 Gree was aware of safety issues with dehumidifiers manufactured for
GE, which GE recalled in January 2011. GE recalled its dehumidifiers for safety issues that
either were very similar to or identical to the safety issues that MJC and Gree identified in 2012
involving the Gree dehumidifiers. There were safety issues common to both the GE

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dehumidifiers recalled in January 2011 and the Gree humidifiers recalled in 2013. Deposition of
Yao Gang (October 23, 2014) at Pages 127-136.

Finally, after MJC’s counsel asked Gree to consider a joint report to CPSC, Gree agreed and
Gree and MJC submitted an initial report on March 15, 2013, and a Full Report on April 30,
2013, both under 15 U.S.C. § 2064(b).

According to the U.S. Court of Appeals for the Ninth Circuit, the Consumer Product Safety Act
("CPSA") establishes a complex regulatory framework for keeping dangerous consumer products
out of the market-place…Among its most potent weapons is its reporting requirement.” US v
Mirama, 387 F.3d 983 (9th Cir. 2004).

Gree’s obligation to report to CPSC arose as soon as Gree had information reasonably supporting
the conclusion that its dehumidifiers contained a defect that could create a substantial product
hazard or an unreasonable risk of serious injury or death. The CPSC reporting obligation is not
dependent on a firm replicating a product failure. It arises upon the receipt of information
reasonably supporting the conclusion that a product has a defect which could create a Substantial
Product Hazard or information reasonably supporting the conclusion that a product creates an
unreasonable risk of serious injury or death. 15 U.S.C. § 2064(b). Gree had this information
when it had information that its dehumidifiers did not meet the UL flame retardancy
requirements.

Dehumidifier fires that escape the unit are the type of information that is reportable to CPSC. By
mid-October 2012, MJC had provided Gree information about 9 fires some of which escaped the
Gree dehumidifier. The CPSC reporting obligation is not dependent upon whether a firm such as
Gree did or did not have the expertise to evaluate the cause of the fires. Indeed, CPSC
admonishes firms to err on the side of caution and if in doubt about whether a report is required,
report. CPSC also makes clear that a report does not necessarily mean that a recall is required
because the obligation to report is broader than the obligation to conduct a product recall.
Despite having knowledge of and having read and understood CPSC’s Recall Handbook, (Huang
Deposition at 87-88; Plaintiff’s Exhibits 9 and 10 to Huang Deposition), Gree apparently
erroneously took the position that it had to have proof of the cause of the fires before it reported.
Mr. Huang stated in response to a question about MJC urging Gree to report to CPSC that Gree
waited to report until March 2013 because “[w]e did not receive sufficient proof.” Huang
Deposition, at 92 (February 9, 2015).

In fact, it appears that Gree was delaying reporting to CPSC and conducting a recall for
economic reasons. In a variety of documents, it is clear that Gree appears more concerned with
the cost of a recall, potential damage to its reputation, and its effect on its ability to sell
humidifiers in 2012 and 2013. See, for example, Plaintiff’s Exhibits 5, 8, 13, to the Huang
Deposition; Exhibit 7 to the Yao Gang Deposition.



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If as Mr. Stern states, Gree acted responsibly in retaining Exponent to assist in evaluating its
dehumidifiers, in my opinion Gree should not have waited nine months to do so. Rather, when
Gree could not replicate fires, it took the position that the fires were the consumers fault. See,
for example, GREE-CPSC0000026, GREE-OGC0000004, GREE0006680. Nonetheless, as
noted above, Gree had developed a solution to the fires by September 2012 but did not offer it to
consumers at that time. Exhibit 15 to Huang deposition; Huang deposition at 129-132.

Mr. Stern’s evaluation of Gree’s procedures identifies a number of weaknesses including its
tendency “to rely upon evaluating the types most easily identified based on technical knowledge
of expected failure modes and on those failures which previously occurred” rather than on
“failure modes …[that] have a low likelihood of occurring and have not previously occurred in
one of Gree’s products.” Stern Letter Report, Exhibit B at Page 18.

CPSC interpretive reporting obligations advise firms that “When in doubt, firms should report.
Firms should clearly err on the side of over-reporting, rather than under-reporting." 49 Fed. Reg.
at 13822. Text following 16 CFR §1115.4(e). CPSC also interprets the statutory requirement that
firms report “immediately: to mean within 24 hours, after a firm has obtained information which
reasonably supports the conclusion that its product contains a defect which could create a
substantial risk of injury to the public or creates an unreasonable risk of serious injury or death.
16 CFR 1115.14(e). The CPSC goes on to say that firms can take a reasonable period of time to
investigate, generally no more than 10 days, unless a firm can show that a longer period is
reasonable. In this regard, CPSC also says a subject firm should not await complete or accurate
risk estimates before reporting. 16 CFR 1115.14(c).

In interpreting the reporting obligation, the Ninth Circuit Court of Appeals has said,
“Information about a possible defect triggers the duty to report, which in turn allows the
Commission either to conclude that no defect exists or to require appropriate corrective action.”
(Emphasis added). U.S. v Mirama Enterprises, Inc. 387 F. 3d 983 (9th Cir. 2004).

The requirement that firms notify CPSC when a responsible party “obtains information which
reasonably supports the conclusion that its product creates an unreasonable risk of serious injury
or death is intended to require firms to report even when no final determination of risk is
possible.” 16 CFR 1115.6(a). The CPSC advises firms in determining whether they have a
reporting obligation to consider, among other things, product liability suits and claims for
personal injury or damage, information from an independent testing laboratory, complaints from
a consumer, information received from other firms including information from distributors and
retailers, and the severity of the risk. 16 CFR 1115. 12(f) and (g).

Stern’s report on his review of Gree’s safety and compliance program specifies that he (Stern)
failed to talk to any Gree employees. [Stern Exhibit B at Page 7]. In my experience, companies
may have excellent written programs but upon interviewing employees responsible for the
implementation of the program, I have found that in a number of cases, the employees do not

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 follow the written procedures, are unaware of them, or have modified them in practice. In my
 opinion, it is not reasonably possible to know if safety and quality procedures are followed by
 reviewing written documents and talking only to management officials. Rather, it is essential to
 interview those employees who actually conduct or perform the written requirements to assure
 they are being followed. Stern recognized this in his recommendation’s 7 and 8 where he states
 that Gree should”[c]onduct a detailed audit of the day-to-day actions of the production and
 customer service departments to identify potential nonconformance with Gree’s internal quality,
 compliance and safety requirements” and “[c]onsider revising the existing customer service
 process and procedures to more aggressively pursue the return of field units related to potential
 safety-related allegations.” Stern Report, Exhibit B, at Page 19.]


VII.    Conclusions

       The CPSC is responsible for protecting consumers form unreasonable risks of injury
        associated with consumer products.
       Manufacturers are required to report to CPSC immediately if they obtain information
        reasonably supporting the conclusion that a product (1) has a defect which could create a
        substantial product hazard or (2) creates an unreasonable risk of serious injury or death.
       As early as mid-July 2012, MJC provided Gree information about certain of its
        dehumidifiers spontaneously igniting.
       MJC provided Gree test data documenting that its dehumidifiers did not meet UL
        requirements for flame retardancy and corresponded with and met with Gree
        representatives in September 2012 to urge them to report to CPSC.
       The CPSC reporting requirement is not dependent upon a firm establishing the root cause
        of a safety problem.
       In 2010, Gree was aware of safety issues with dehumidifiers manufactured for GE that
        were similar to or identical to the safety issues involving the Gree dehumidifiers.
       Gree’s hiring Exponent to evaluate its dehumidifiers was not a reason to delay reporting
        to CPSC.
       Because its dehumidifiers spontaneously ignited and did not meet UL flame retardancy
        requirements, Gree should have reported to CPSC months earlier than it did; and the
        delay in reporting appears to have been motivated by Gree’s financial concerns.




                                                     Alan H. Schoem
                                                     February 18, 2015



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                                       Attachment 1
  MJC America vs. Gree Electric Appliances, Inc. and Gree USA, Inc, U.S. Dist. Ct. (C.D. CA)
                           Case No. 2:13-cv-04264-SJO-(CWx)

                                    Documents Reviewed


      Defendant and Counterclaimant Hong Kong Gree Electric Appliances Sales Ltd.’s
       Amended Responses to Counter-Defendants’ Requests for Admission, Set One.
      Defendant and Counterclaimant Gree Electric Appliances, Inc. of Zhuhai’s Amended
       Responses to Counterdefendants’ Requests for Admission, Set One.
      Deposition of Huang Hui, 2 Monday, 9 February 2015, and Exhibits
      Deposition of Yao Gang, 23 October 2014, and Exhibits
      Gree’s April 11, 2014, response with attachments to CPSC’s March 16, 2014,
       information and document requests.
      February 5, 2014, letter report from Richard Stern, Exponent to Ellen Nudelman Adler,
       Esq., Morrison & Foerster, LLP with attachments.
      Gree Electric Appliances Corrected Second Amended Counterclaims with Exhibits.
       Gree Zhuhai, Gree USA, and MJC America’s April 30, 2013, Full Report to CPSC, with
       attachments.
      Gree Analysis of Exponent Metal Cover
      CRT Report
      UL Report Oct 2009 rev Dec 2012
      October 2013 Exponent Report
      November 2012 Intertek Report
      July 2013 Exponent Report
      Gree explanation of CRT Report
      Gree Analysis of Exponent Plastics Report
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                                          Attachment 2

                                    ALAN H. SCHOEM
                                  14809 Rolling Green Way
                                  North Potomac, MD 20878

 Professional Experience

 January 1, 2012 – Present
 The Law Office of Alan H. Schoem LLC
     Provides legal advice and guidance on a variety of product safety issues concerning
        consumer products subject to statutes and regulations administered by the U.S.
        Consumer Product Safety Commission

 September 2004 – December 2011
 Senior Vice President, Marsh USA
         Worked with companies to evaluate and establish procedures to minimize the
           potential for product recalls, to prepare for, implement and recover from product
           recalls and to understand and comply with statutory and regulatory requirements

 October 1997 - September 2004
 Director, Office of Compliance, U.S. Consumer Product Safety Commission
         Effectively managed the Consumer Product Safety Commission’s compliance and
            administrative enforcement activities under all of the statutes administered by the
            Commission including initiating investigations of potentially defective products
            or products that violated mandatory safety standards and banning regulations, and
            seeking corrective action and civil penalties where appropriate
         Provided advice and guidance to industry on complying with all statutes and laws
            administered by the Commission
         Provided advice and guidance to CPSC Commissioners and staff on CPSC rules,
            regulations and ongoing enforcement activities
         Worked with the U.S. Department of Justice on specific CPSC investigations
            involving violations of CPSC statutes and regulations

 October 1996 - October 1997
 Executive Assistant, Office of Compliance, U.S. Consumer Product Safety Commission
         Responsible for implementing key programs of the Office of Compliance
           including product investigations and product recalls

 March 1994 – October 1996
 Detailed to the Office of Chairman Ann Brown to serve as a legal advisor providing advice
 and guidance on legal and policy issues.

 1992-1993
 LEGIS Fellow to Senator Paul Wellstone
        Participated in legislative activities of Senator Wellstone including developing
           position papers and statements
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 October 1986 - October 1996
 Director, Division of Administrative Litigation, Office of Compliance, U.S. Consumer
 Product Safety Commission
         Successfully managed attorneys in the Office of Compliance in pursuing product
            recalls through administrative litigation and pursuing civil penalties for violations
            of CPSC rules and regulations
         Successfully coordinated administrative and civil penalty activities with CPSC
            Compliance Officers and the CPSC General Counsel and staff

 September 1979 – October 1986
 Assistant General Counsel, Office of the General Counsel, U.S. Consumer Product Safety
 Commission
         Successfully managed CPSC’s federal court enforcement activities in
            coordination with the U.S. Department of Justice
         Successfully managed and implemented CPSC’s information disclosure activities
            and provided advice and guidance to the General Counsel, CPSC staff and
            Commission

 June 1973 – September 1979
 Attorney-Advisor, Office of the General Counsel, U.S. Consumer Product Safety
 Commission
     Responsible for a variety of CPSC rulemaking and enforcement activities
     Responsible for developing CPSC jurisdictional opinions
     Responsible for working with the U.S. Department of Justice in defending CPSC
        activities in federal court

 September 1972 – June 1973
 Attorney Advisor, Office of the General Counsel, General Accounting Office
     Responsible for analyzing legal issues in the area of procurement law and resolving
        challenges to awards of government contracts

 Bar Membership
 Maryland Bar 1973
 DC Bar 1973

 Education
 J.D., 1972, American University Washington College of Law, Washington, D.C.
 B.A., 1968, University of Maryland, College Park, MD

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   Panel participant: CPSIA, CCPSA and European – Assembly of your Technical Files and
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 of Iowa, Central Division, Civil Action No. 4:11-cv-0039-RP-CFB (Deposition July 24, 2013)

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 Court for Davidson County, Tennessee at Nashville (Deposition September 19, 2013)

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  1                        UNITED STATES DISTRICT COURT

  2                       CENTRAL DISTRICT OF CALIFORNIA

  3                              WESTERN DIVISION

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  7
       MJC AMERICA LTD,              )
  8                                  )
                                     )
  9           PLAINTIFF,             )
                                     )      CASE NO.:   CV 13-4264-SJO(CW)
 10           V.                     )
                                     )
 11                                  )
       GREE ELECTRIC APPLIANCES, INC.)      LOS ANGELES, CALIFORNIA
 12    OF ZHUHAI, ET AL.,            )
                                     )
 13                                  )      NOVEMBER 12, 2014
              DEFENDANTS.            )
 14                                  )      (10:03 A.M. TO 11:06 A.M.)
                                     )
 15

 16
                                     HEARING
 17
                      BEFORE THE HONORABLE CARLA M. WOEHRLE
 18                       UNITED STATES MAGISTRATE JUDGE

 19    APPEARANCES:                 SEE NEXT PAGE

 20    COURT REPORTER:              RECORDED; COURT SMART

 21    COURTROOM DEPUTY:            GAY ROBERSON

 22    TRANSCRIBER:                 DOROTHY BABYKIN
                                    COURTHOUSE SERVICES
 23                                 1218 VALEBROOK PLACE
                                    GLENDORA, CALIFORNIA     91740
 24                                 (626) 963-0566

 25    PROCEEDINGS RECORDED BY ELECTRONIC SOUND RECORDING;
       TRANSCRIPT PRODUCED BY TRANSCRIPTION SERVICE.
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                                                                        2

  1    APPEARANCES: (CONTINUED)
       FOR THE PLAINTIFFS:     WINSTON & STRAWN
  2                            BY: IAN C. EISNER
                                    ATTORNEY AT LAW
  3                            333 SOUTH GRAND AVENUE
                               LOS ANGELES, CALIFORNIA          90071
  4
       FOR THE DEFENDANTS:          MORRISON & FOERSTER LLP
  5                                 BY: JOANNA L. SIMON
                                         ATTORNEY AT LAW
  6                                 12531 HIGH BLUFF DRIVE
                                    SUITE 100
  7                                 SAN DIEGO, CALIFORNIA 92130

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                                                                       3

  1                                  I N D E X
       CASE CV 13-4264-SJO(CW)                         NOVEMBER 12, 2014
  2
       PROCEEDINGS:    MOTION TO COMPEL RESPONSES TO PRODUCTION OF
  3                    DOCUMENTS.

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  1           LOS ANGELES, CALIFORNIA; WEDNESDAY, NOVEMBER 12, 2014

  2                                   10:03 A.M.

  3               THE CLERK:    ALL RISE.    THIS UNITED STATES DISTRICT

  4    COURT IS NOW IN SESSION.      THE HONORABLE CARLA M. WOEHRLE,

  5    UNITED STATES MAGISTRATE JUDGE, PRESIDING.

  6               THE COURT:    GOOD MORNING.

  7               THE CLERK:    PLEASE BE SEATED.

  8               CALLING CASE NUMBER CV 14-4264, MJC AMERICA LTD, ET

  9    AL. VERSUS GREE ELECTRIC APPLIANCES, INC. OF ZHUHAI, ET AL.

 10               COUNSEL, PLEASE MAKE YOUR APPEARANCES FOR THE

 11    RECORD.

 12               MR. EISNER:    GOOD MORNING, YOUR HONOR.

 13               IAN EISNER ON BEHALF OF PLAINTIFFS AND

 14    COUNTERDEFENDANTS.

 15               THE COURT:    GOOD MORNING.

 16               MS. SIMON:    GOOD MORNING, YOUR HONOR.

 17               JOANNA SIMON ON BEHALF OF DEFENDANTS AND

 18    COUNTERCLAIMANTS.

 19               THE COURT:    GOOD MORNING.

 20               OKAY.    SO -- YOU CAN BE SEATED.

 21               I'LL TELL YOU WHAT I'M -- MY TENTATIVE VIEWS ARE ON

 22    THE THREE CATEGORIES AT ISSUE ON THE MOTION.

 23               FIRST, WITH RESPECT TO NUMBER 6, WHICH IS THE

 24    DOCUMENTS RELATED TO THE ACCOUNT PROJECT SET-UP SHEETS, I

 25    BELIEVE THAT WHAT MJC HAS OFFERED AND AGREED TO PRODUCE IS
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                                                                       42

  1    HYPOTHETICAL, THAT WE'RE GOING TO USE AN EXPERT THAT HAPPENS

  2    TO WORK AT A COMPETITOR OF GREE.       AND BECAUSE OF THAT NOW WE

  3    HAVE TO JUMP THROUGH ALL THESE HOOPS AND DISCLOSE WHO OUR

  4    EXPERTS ARE NOW, ALL OF OUR EXPERTS, SO THAT GREE CAN APPROVE

  5    THEM.   AND IF WE -- I MEAN, IT'S --

  6               THE COURT:    WELL, IT JUST SEEMS -- IT JUST SEEMS

  7    UNLIKELY TO ME THAT THE -- THAT IF AN EXPERT OR A CONSULTANT

  8    WERE RETAINED TO WHO WOULD HAVE NEED OF THESE KINDS OF DESIGN

  9    DOCUMENTS -- THE DESIGN, UNLESS I'M MISSING SOMETHING HERE,

 10    REALLY DOESN'T SEEM TO BE WHAT THIS CASE IS ABOUT.          I MEAN,

 11    THERE'S BEEN A RECALL.      THAT'S HAPPENED.    EVERYTHING ABOUT

 12    THE DESIGN IT SEEMS TO ME IS KIND OF WATER UNDER THE BRIDGE.

 13    AND THAT'S NOT THE FOCUS OF THE LITIGATION, WHICH MAKES IT

 14    VERY DIFFERENT THAN A PATENT CASE.

 15               MS. SIMON:    AND, YOUR HONOR, GREE WOULD AGREE WITH

 16    YOU THAT THE DESIGN IS CERTAINLY NOT THE FOCUS OF THIS

 17    LITIGATION.    BUT MJC -- FROM GREE'S PERSPECTIVE THIS IS

 18    BASICALLY A BUSINESS DISPUTE AT THIS POINT.         BUT MJC HAS BEEN

 19    SUBPOENAING, INTENDS TO SUBPOENA CERTAIN O.E.M. MANUFACTURERS

 20    WHERE GREE HAS BEEN THE O.E.M. FOR OTHER ENTITIES TO DISCUSS

 21    THE DESIGN CHANGES BETWEEN THE SOLEUS AIR BRAND AND THE OTHER

 22    BRANDS OF DEHUMIDIFIERS.      THEY'RE PUTTING THE DESIGN

 23    DIFFERENCES AND THE DESIGN DRAWINGS AT ISSUE.

 24               THE COURT:    OKAY.

 25               MR. EISNER:    GO AHEAD, YOUR HONOR.      I'M SORRY.
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  1

  2                           C E R T I F I C A T E

  3

  4               I CERTIFY THAT THE FOREGOING IS A CORRECT

  5    TRANSCRIPT FROM THE ELECTRONIC SOUND RECORDING OF THE

  6    PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

  7

  8

  9

 10    /S/ DOROTHY BABYKIN                              11/26/14

 11    ______________________________                   ___________

 12    FEDERALLY CERTIFIED TRANSCRIBER                  DATED

 13    DOROTHY BABYKIN

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